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                     EXHIBIT B
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                                                                   Page 1

1                   UNITED STATES DISTRICT COURT
2              FOR THE NORTHERN DISTRICT OF CALIFORNIA
3                      SAN FRANCISCO DIVISION
4       __________________________________________________x
        IN RE GOOGLE PLAY STORE           Case No.
5       ANTITRUST LITIGATION              3:21-md-02981-JD
6       THIS DOCUMENT RELATES TO:
7       Epic Games Inc. v. Google LLC, et al.,
        Case No: 3:20-cv-05671-JD
8
        In re Google Play Consumer
9       Antitrust Litigation,
        Case No: 3:20-cv-05761-JD
10
        In re Google Play Developer
11      Litigation,
        Case No: 3:20-cv-05792-JD
12
13      State of Utah, et al., v.
        Google LLC, et al.,
14      Case No: 3:21-cv-05227-JD
        __________________________________________________
15
16          HIGHLY CONFIDENTIAL UNDER THE PROTECTIVE ORDER
17              VIRTUAL VIDEOCONFERENCE VIDEO-RECORDED
18                    DEPOSITION OF LAWRENCE KOH
19
20                   Thursday, December 9, 2021
21       Remotely Testifying from San Francisco, California
22
23       Reported By:
24        Hanna Kim, CLR, CSR No. 13083
25        Job No. 4969626

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1        BY MS. MOSKOWITZ:
2              Q.    Okay.    All right.
3                    Let's -- you can -- you can set that
4        aside.
5                    In terms of how Google and -- well, let's
6        start with Google, how Google thought about
7        Project Hug, at the end of the day, it was running
8        numbers to calculate what the translation of the
9        various service offerings would mean for an
10       effective change in revenue share for each of the
11       developers; is that accurate?
12                   MR. BRADSHAW:         Object to the form.
13                   THE WITNESS:        Could you repeat that
14       question again?
15       BY MS. MOSKOWITZ:
16             Q.    Sure.
17                   Google thought about Project Hug and the
18       various service offerings that it was providing on
19       the various payments that were made in connection
20       with the Project Hug deals as an effective change
21       in what the revenue share would be to the
22       developer?
23                   MR. BRADSHAW:         Object to the form.
24                   THE WITNESS:        No, we did not position it
25       that way.     We -- we had done some quantitative

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1        analysis in terms of what that might look like, but
2        that -- that is not how it was positioned.
3        BY MS. MOSKOWITZ:
4              Q.    Okay.    If you could go into the Exhibit
5        Share and refresh, there should be the next
6        exhibit, which will be Exhibit 138 that is loading
7        imminently.
8                    (Koh Deposition Exhibit 138 was marked.)
9                    Let me know when you have that.
10                   I will read for the record, this is Google
11       Play 005580346.R through '0352.R.
12                   Let me know when you have that.
13             A.    I have it opened.
14             Q.    Okay.    This is a slide deck from
15       January 2020 called "HUG Value to Strategic
16       Developers."
17                   Do you see that?
18             A.    Yes, I do.
19             Q.    And you're familiar with this slide deck;
20       right?
21             A.    Yes, I am familiar with it.
22             Q.    And this is a document that was created
23       and maintained in the ordinary course of business
24       at Google?
25             A.    This was a document that the -- the

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